                    Case:18-02493-swd              Doc #:47 Filed: 08/25/2021                 Page 1 of 1

                                         UNITED STATES BANKRUPTCY COURT
                                       FOR THE WESTERN DISTRICT OF MICHIGAN

IN RE:                                                                               DG 18-02493
MIGUEL-EDUARDO DE JESUS LACKUPS-FUENTES                                              xxx-xx-5326       5/31/18



                             AMENDED ORDER DIRECTING EMPLOYER TO PAY TRUSTEE

The above-noted debtor has filed a Chapter 13 Bankruptcy Case and has consented to the deduction of plan payments directly
from his/her wages to the Chapter 13 Trustee.

THEREFORE, IT IS HEREBY ORDERED that the debtor’s employer,

                                                CRESTWOOD MIDSTREAM PARTNERS
                                                 125 S WACKER DRIVE 27TH FLOOR
                                                        CHICAGO, IL 60606-

         shall deduct the sum of $569.09 PER Weekly PAY beginning the next pay period following the receipt of this Order and
remit said amount to:

                                                      Brett N. Rodgers, Trustee
                                                    CHAPTER 13 TRUST ACCOUNT
                                                       2482 Momentum Place
                                                       Chicago, IL 60689-5324

The Trustee so appointed herein or his successor in interest: /s/ Brett N. Rodgers

IT IS FURTHER ORDERED that all earnings of the debtor, except amounts requested to be withheld by any provisions of the laws
of the United States, this state or any political subdivision, or by any insurance, pension or union dues agreement between the
employer and the debtor, or by Order of this Court, be paid to the debtor in accordance with the employer’s usual payroll procedure.

IT IS FURTHER ORDERED that no deductions for any garnishment, wage assignment, credit union or other purpose not
specifically authorized by this Court, be made from the earnings of said debtor, except Friend of the Court, if applicable, and [other
possible deductions].

IT IS FURTHER ORDERED that a copy of this Order be served upon the debtor(s), attorney for the debtor(s) (if applicable),
Chapter 13 Trustee and employer.


RETURN FOR SERVICE TO: Trustee, 99 Monroe Ave NW Ste 601, Grand Rapids, MI 49503

SERVED BY MAIL: Served By: _________________________                       Date: _____________________

EMPLOYER: SEE ABOVE


DEBTOR:           MIGUEL-EDUARDO DE JESUS LACKUPS-FUENTES
                  7575 CAMBRIDGE ST APT 3201

                  HOUSTON, TX 77054-

ATTORNEY:         JEFFREY D MAPES PLC
                  29 PEARL ST NW
                  SUITE 305
                  GRAND RAPIDS, MI 49503-
                                                           END OF ORDER




  IT IS SO ORDERED.

  Dated August 25, 2021
